Case 23-40709   Doc 70-9     Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                           I - Search Report Page 1 of 3




                              Exhibit I
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                                                                                                                            Print

     Date of Search : 09/03/2023
     This search is accurate as at the Search Date above.

 Company Name :                  MIGNONETTE INVESTMENTS LIMITED
 Company Number :                243736
 Company Type :                  BC Re-registration                          Date of Incorporation / Registration :   11/08/1997

 Current Status :
 Status Description:                                          Struck off - Non Pmt A/Fee
 Status Date:                                                 02/05/2017
 Re-registration Type:                                        Automatic
 Re-registration date:                                        01/01/2007
 Current Registered Agent:                                    TMF (B.V.I.) LTD.
                                                              Palm Grove House
                                                              P.O. Box 438
 Current Registered Agent Address:                            Road Town
                                                              Tortola
                                                              VIRGIN ISLANDS, BRITISH
 Current Registered Agent Phone Number:                       284-494-4997
 Current Registered Agent Fax Number:                         284-494-4999

                                                              Palm Grove House
                                                              P.O. Box 438
                                                              Road Town
 Current Registered Office :
                                                              Tortola
                                                              VG1110
                                                              VIRGIN ISLANDS, BRITISH
 Telephone:
 Agent Fax:
 Register of Directors Filed :                                Yes
 First Registered Agent:                                      TMF Corporate Services (BVI) Limited
                                                              Palm Grove House
                                                              P.O. Box 438
                                                              Road Town
 First Registered Office:
                                                              Tortola
                                                              VG1110
                                                              VIRGIN ISLANDS, BRITISH


 Share/Capital Information:
 Authorized Capital:                                          50,000.00    United States of America, Dollars

 Ability to Issue Bearer Shares:                              No


 Previous Names History
                                                                                                     Date Range or Cease Date
 S.No Previous Name                                             Foreign Character Name            From                    To
 1    MIGNONETTE INVESTMENTS LIMITED                                                              11/08/1997


 Transaction History
                   Transaction
 S.No     Date                       Description                             Status      Eforms/Attachments
                   Number
 1      11/08/1997 T970007039        Application for Incorporation (IBC)     Approved    General Filing




https://virrgin.bvifsc.vg/VIRRGIN/companyProfileSearch.do?dispatch=viewCompan...                                      09/03/2023
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                                                                                            General Filing - General Filing
                                    IBC Request for Certificate of
 2      23/10/1997 T970007040                                                    Approved   General Filing
                                    Goodstanding/Certified Certificates
                                                                                            General Filing - General Filing
 3      17/03/2008 T080144830       Annual Fee Submission (BC)                   Approved   Annual Submission
 4      17/11/2008 T080766540       Annual Fee Submission (BC)                   Approved   Annual Submission
 5      27/06/2011 T110479651       Annual Fee Submission (BC)                   Approved   Annual Submission
 6      21/11/2012 T120824356       Annual Fee Submission (BC)                   Approved   Annual Submission
 7      11/11/2013 T130747395       Annual Fee Submission (BC)                   Approved   Annual Submission
 8      10/11/2014 T140760598       Annual Fee Submission (BC)                   Approved   Annual Submission
 9      10/11/2015 T150768924       Annual Fee Submission (BC)                   Approved   Annual Submission
 10     29/03/2017 T170521455       Registered Agent intent to Resign            Approved   Registered Agent Intent To Resign
                                                                                            Notice of intention to resign given to the
                                                                                            company under section 93(2)
 11     31/03/2017 T170568523       Register of Members or Directors             Approved   Register of Directors


 Certificate History
 S.No         Transaction No.                       Type of Certificate                              Date of Filing
 1            T110479651                            Certificate of Restoration                       27/06/2011


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 out of or in connection with the use of the Information.




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